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                                                           Minimum Mandatory □
                                                                Rule35/5K1.1     X

                                                                Appeal Waiver X
                                                                         Other   □


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION



 UNITED STATES OF AMERICA                      CR 218-14


 V.



 TROY CROSBY




                        SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL:


Darrell Gossett, Esq.

STATUTES CHARGED;


Count 1 — 21 U.S.C. § 846
Conspiracy to Possess With Intent to Distribute and to Distribute Controlled
Substances (5 Kilograms or More of Cocaine, a Quantity of Cocaine Base "Crack,"
and a Quantity of Marijuana)

Counts 11 through 18 - 21 U.S.C. § 841(a)(1) - Distribution of Cocaine

COUNT PLEADING TO:


Count 11-21 U.S.C. § 841(a)(1) - Distribution of Cocaine

STATUTORY PENALTIES;


Imprisonment for not more than 20 years;
Fine of not more than $1,000,000;
Supervised release of not less than 3 years;
$100 special assessment.

ELEMENTS OF THE OFFENSE;
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    First:       The defendant knowingly and intentionally distributed cocaine,
                 a Schedule II controlled substance;

    Second:      The substance was in fact cocaine.

TERMS OF PLEA AGREEMENT:


    • Defendant will plead guilty to Count 11 of the Indictment.

    • The government will not object to a recommendation by the U.S.
       Probation Office that Defendant receive an appropriate reduction in
       offense level for acceptance of responsibihty pursuant to Section 3E1.1 of
       the Sentencing Guidehnes.

    • Defendant agrees to pay restitution for the full loss caused by Defendant's
       total criminal conduct, which is not limited to the specific counts to which
       Defendant is pleading guilty.

    • Defendant agrees to provide full, complete, candid, and truthful
      cooperation to the government. The government, in its sole discretion,
      will decide whether that cooperation qualifies as "substantial assistance"
      that warrants the filing of a motion for downward departure or reduction
       in sentence.


    • At sentencing, the government will move to dismiss any other Counts of
       the Indictment that remain pending against Defendant.

    • Defendant waives his right to appeal on any ground, with only three
      exceptions: he may appeal his sentence if(1)that sentence exceeds the
      statutory maximum,(2)that sentence exceeds the advisory Guidehnes
      range determined by this Court at sentencing, or (3)the government
      appeals. By signing the plea agreement. Defendant explicitly instructs
      his attorney not to file an appeal unless one of the three exceptions is met.

    • Defendant entirely waives his right to collaterally attack his conviction
      and sentence on any ground and by any method, including but not hmited
      to a 28 U.S.C. § 2255 motion. The only exception is that Defendant may
      collaterally attack his conviction and sentence based on a claim of
       ineffective assistance of counsel.

    • Defendant waives all rights to request information about the investigation
      and prosecution of his case under the Freedom of Information Act or the
       Privacy Act.
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     Defendant waives the protections of Rule 11(f) of the Federal Rules of
     Criminal Procedure and Rule 410 of the Federal Rules of Evidence. If he
     fails to plead guilty, or later withdraws his guilty plea, all statements
     made by him in connection with that plea, and any leads derived
     therefrom, shall be admissible for any and all purposes.
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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION



 UNITED STATES OF AMERICA                      CR 218-14


 V.



 TROY CROSBY



                                 PLEA AGREEMENT


        Defendant Troy Crosby, represented by his counsel Darrell Gossett, and the

United States of America, represented by Assistant United States Attorney Matthew

A. Josephson, have reached a plea agreement in this case. The terms and conditions

of that agreement are as follows.

1.      Guilty Plea


        Defendant agrees to enter a plea of guilty to Count Eleven of the Indictment,

which charges distribution of a controlled substance (cocaine), in violation of 21

U.S.C. § 841(a)(1).

2.      Elements and Factual Basis


        The elements necessary to prove the offense charged in Count Eleven are

(1) The defendant knowingly and intentionally distributed cocaine, a Schedule II

controlled substance; and (2) The substance was in fact cocaine.

        Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

        On or about May 18, 2017, in Glynn County, within the Southern District of


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Georgia, the defendant, TROY CROSBY, aided and abetted by others, did knowingly

and intentionally distribute a quantity of cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.

3.     Possible Sentence


       Defendant's guilty plea will subject him to the following maximum possible

sentence: a maximum sentence of 20 years'imprisonment; a supervised release term

of not less than 3 years; a $1,000,000 fine; such restitution as may be ordered by the

Court; and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment per count of conviction.

4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Sentencing GuideHnes


       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court will consider that range, possible


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departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines


       a.    Use of Information


       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range.

       b.    Acceptance of Responsibilitv


       The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibihty, the government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b)of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.     Dismissal of Other Counts


       At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.


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8.     21 U.S.C. ^851 Enhancement


       The government agrees not to file a Title 21, Section 851,enhancement against

the defendant, if applicable. If filed, the government will dismiss at sentencing.

9.     Cooperation


       a.     Complete and Truthful Cooperation Required

       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any-

related offenses. Defendant shall fully and truthfully disclose his knowledge of those

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.


       This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

       b.     Motion for Reduction in Sentence Based on Cooperation


       The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent, Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.



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10.     Financial Obligations and Agreements


        a.    Restitution


        The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

        b.    Special Assessment


        Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

        c.    Required Financial Disclosures


        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of pei^'ury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes


the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.


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        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case wiQ be placed on the Treasury Offset Program so that any federal




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payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

 11.   Waivers


       a.    Waiver of Anneal


       Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground. The only exceptions are that the Defendant may file a direct

appeal of his sentence if(1)the court enters a sentence above the statutory maximum,

(2)the court enters a sentence above the advisory Sentencing Guidelines range found

to apply by the court at sentencing; or (3) the Government appeals the sentence.

Absent those exceptions, Defendant explicitly and irrevocably instructs his attorney

not to file an appeal.

       b.    Waiver of Collateral Attack

       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

       c.    FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.


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        d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver


        Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

12.     Defendant's Rights


        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

13.     Satisfaction with Counsel


        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

14.     Breach of Plea Agreement




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        IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence,including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidelines.          In addition, the

government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

15.     Entire Agreement


        This agreement contains the entire agreement between the government and

Defendant.


                           (Signatures on Following Pages)




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                                 BOBBpSKRISTINE
                                 UNITm^TATEB ATTORNEY


Date                             B-pianx: Rafferty
                                 New York Bar No. 2809440
                                 Chief, Criminal Division




Date                             Matthew A. Josephson
                                 Georgia Bar No. 367216
                                 Assistant United States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    Troy Crosby


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    Darrell Gossett,'Esq.
                                        Attorney for Defendant Troy Crosby




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                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


UNITED STATES OF AMERICA


       V.                                             Case No. CR218-14


TROY CROSBY


                                         ORDER


       The aforesaid Plea Agreement, having been considered by the Court in conjunction with

the interrogation by the Court ofthe defendant and the defendant's attorney at a hearing on the

defendant's motion to change his plea and the Court finding that the plea of guilty is made

freely, voluntarily and knowingly, it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted and the

foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



       This 1^          day of                        2du




                                     HONORA^E LISA GODBEY WOOD,JUDGE
                                     UNITED OTATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
